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                                             EXHIBIT “A”

                PRIORITY RECLASSIFIED CLAIMS




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Meridian Automotive Systems, Inc. et al                                                                                                                                                                              1/7/2021
09-12806
Exhibit A - Modified Priority Status
First Omnibus (Substantive) Objection

                                                                                                                                           Modified Claim Amount and
                Name of Claimant                 Debtor Name          Debtor Case   Claim No.   Claimed Amount and Priority Status               Priority Status                        Reason for Modification
               Bags, Paper & More I          Meridian Automotive
                                                                                                                                              $689.40 General Unsecured Goods identified as sold do not qualify for priority
                     PO Box 10               Systems - Composites      09-12808        71           $689.40 non-specific Priority Claim
                                                                                                                                                                  Claim                       status
             Charlotte, MI 48813-0010           Operations, Inc.

                                                                                                                                             $10,950.00 507(a)(4) Priority
                Dewitt, Sylvia E.
                                             Meridian Automotive                                                                                                    Claim Priority claim capped at $10,950.00. Remaining
                2031 Melvin SW                                         09-12806        56        $69,393.86 507(a)(4) Priority Claim
                                                Systems, Inc.                                                                                                                 portion reclassified to General Unsecured
             Wyoming, MI 49519-1710                                                                                                        $58,443.86 General Unsecured
                                                                                                                                                                    Claim


              Engineering Technology                                                               $10,950.00 507(a)(4) Priority Claim                                      Reclassify priority portion to General Unsecured.
                                             Meridian Automotive                                                                           $32,050.00 General Unsecured
           1133 East Maple Rd., Suite 200                              09-12806        12                                                                                    Services performed do not qualify for priority
                                                Systems, Inc.                                                                                                     Claim
               Troy, MI 48083-2853                                                                                                                                                                 status
                                                                                                  $21,100.00 General Unsecured Claim

                F&P Gourmet Foods L
                                             Meridian Automotive
           d/b/a Honey Baked Ham & Café                                                                                                       $373.72 General Unsecured Goods identified as sold do not qualify for priority
                                             Systems - Composites      09-12808        58           $373.72 non-specific Priority Claim
                 1364 Hwy 321 NW                                                                                                                                  Claim                       status
                                                Operations, Inc.
              Hickory, NC 28601-2200
                Innovative Packaging
                                             Meridian Automotive
               2424 Norwood St., SW                                                                                                       $108,672.26 General Unsecured Goods identified as sold do not qualify for priority
                                             Systems - Composites      09-12808        98       $108,672.26 non-specific Priority Claim
                    PO Box 1828                                                                                                                                   Claim                       status
                                                Operations, Inc.
               Lenoir, NC 28645-1828
                                                                                                                                             $10,950.00 507(a)(4) Priority
                  Lopez, Crispina             Meridian Automotive                                                                                                   Claim Priority claim capped at $10,950.00. Remaining
                   140 Rose SW               Systems - Grand Rapids    09-12812        19        $12,169.38 507(a)(4) Priority Claim
                                                                                                                                            $1,219.38 General Unsecured       portion reclassified to General Unsecured
              Grand Rapids, MI 49507             Operations, Inc.
                                                                                                                                                                    Claim

                  McKenzie, Levi B.                                                                                                                                         Reclassify priority portion to General Unsecured.
                                             Meridian Automotive                                                                            $1,002.40 General Unsecured
                28035 Raplh Fair Rd.                                   09-12806       111         $1,002.40 non-specific Priority Claim                                      Services performed do not qualify for priority
                                                Systems, Inc.                                                                                                     Claim
             Fair Oaks Ranch, TX 78015                                                                                                                                                             status
                     Novapak                 Meridian Automotive
                                                                                                                                           $29,239.04 General Unsecured Goods identified as sold do not qualify for priority
                    PO Box 338               Systems - Composites      09-12808       171        $29,239.04 non-specific Priority Claim
                                                                                                                                                                  Claim                       status
               Marion, IN 46952-0338            Operations, Inc.

                                                                                                                                             $10,950.00 507(a)(4) Priority
                   Reed, Larry A.                                                                                                                                   Claim Priority claim capped at $10,950.00. Remaining
                                             Meridian Automotive
                  2620 Windcrest                                       09-12806        33        $70,308.00 507(a)(4) Priority Claim
                                                Systems, Inc.                                                                                                                 portion reclassified to General Unsecured
                 Jenison, MI 49428
                                                                                                                                           $59,358.00 General Unsecured
                                                                                                                                                                    Claim

             Sprint Nextel Corporation
                                                                                                                                                                              Reclassify Administrative/Priority portion to
                 Attn: Bankruptcy            Meridian Automotive                                              $2,767.45 non-specific        $2,767.45 General Unsecured
                                                                       09-12806       195                                                                                     General Unsecured. No benefit provided to
         10002 Park Meadows Dr., 3rd Floor      Systems, Inc.                                            Administrative/Priority Claim                            Claim
                                                                                                                                                                                           Chapter 7 Estate
               Lone Tree, CO 80124


               Swaidner Refrigeration        Meridian Automotive                                        $5.59 507(a)(8) Priority Claim                                      Reclassify priority portion to General Unsecured.
                                                                                                                                              $629.39 General Unsecured
               1215 West Main Street         Systems - Composites      09-12808       107                                                                                    Services performed do not qualify for priority
                                                                                                                                                                  Claim
             Fort Wayne, IN 46808-3395          Operations, Inc.                                     $623.80 General Unsecured Claim                                                               status



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